Case 4:12-cr-00503 Document 265 Filed on 12/06/21 in TXSD Page 1of3

IN THE UNITED STATES DISTRICT. COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

 

HOUSTON DIVISION
UNITED STATES OF AMERICA, §
§ CR NO. H-12-503
§
§ Lee H. Rosenthal
versus § Judge
§
§ Lisa Eddins. __K.. Miller
§ Case Manager Court Reporter
JASON DANIEL GANDY. §
EVIDENTIARY HEARING
Proceeding
EXHIBIT LIST OF GOVERNMENT
No. Description Offr Obj. Admit | N/Adm

 

LIST ATTACHED

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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EXHIBIT LIST

Case No. 4:12-CR-503

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

USA v. Gandy
Exhibit | Brief Description of Exhibit Offer | Object | Admit
No. DeLee (241
1 6/9/14 Email - Subject: gandy
2 6/21/14 Email - Subject gandy w/ draft plea
agreement |
3 Plea Agreement with handwritten notes
4 8/26/14 Email Thread— Subject Gandy plea
set for 9/3
5 8/27/14 C. Flood letter to Gandy
6 - 8/27/14 Notes ,
7 8/27/14 Email regarding Gandy plea
demands
8 8/28/14 Email — Subject gandy w/draft plea
agreement
9 8/28/14 Kmail thread— Subject gandy
10 8/29/14 Notes
11 8/29/14 Email — Subject Gandy w/ signature
._| page
12 8/29/14 Email thread— Subject Gandy
13 8/29/14 Email thread— Subject Gandy
discussing restitution
14 8/29/14 Email — Subject Gandy — w/ final
draft plea agreement
15 8/29/14 Email — Subject here is the civil stuff
that he will have to sign with Joint Motion
for Agreed Final Judgment of Forfeiture
16 9/2/14 Email thread— Subject Parole |
17 9/2/14 Email thread— Subject Jason [
18 9/2/14 Email — Subject gandy w/ draft plea
agreement sent to Julie Gandy
19 9/3/14 Email — Subject Jason
20 9/3-9/10 Email thread — Subject Jason’s
folder
21 9/10/14 Email — Subject Jason’s decision
22 9/11/14 Email thread— Subject Gandy /
23 9/11/14 Email thread— Subject Gandy
24

 

 

 

 

 

 

 

9/11/14 Email thread— Subject Gandy
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I2{ (a4
25 9/11-9/13/14 Email thread— Subject Jason
26 Criminal Indictment /
27 Superseding Criminal Indictment |
28 Second Superseding Criminal Indictment |
29 Motion Under 28 U.S.C. § 2255 To Vacate,
Set Aside, Or Correct Sentence By A Person
In Federal Custody
30 Memorandum of Law and Facts in Support
of Motion to Vacate, Set Aside, or Correct
Sentence Under 28 U.S.C. § 2255
30-1 Exhibit 1— Plea Agreement
30-2 Exhibit 2 — Declaration of Jason Gandy
30-3 Exhibit 3 — Declaration of Julie Gandy |
30-4 Exhibit 4 — Declaration of Joe Gandy
31 Affidavit(s) of Dan Cogdell and Charles
Flood
31-A Attorney/Client Privileged letter
31-B Note dated 8/27/2014
31-C Email — Subject Jason’s plea
31-D Email — Subject gandy
31-E Email — Subject Parole °
31-F Plea Agreement
32 8/5-8/8/14 Email thread — Subject Help with
Jason’s request
33 8/27-8/28/14 Email thread — Subject Jason’s .
Plea L
34 N

 

8/28/14 Email thread — Subject gandy

 

 

 

 

 

 
